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   2
   3
   4                     UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
   5
   6
        TRACY EGGLESTON                           Case No.
   7                                              2:19−cv−10071−VAP−RAO
                       Plaintiff,
   8
             v.                                              STANDING ORDER
   9
      DIRECT PROTECT SECURITY AND
   10 SURVEILLANCE, INC.
   11                 Defendant.

   12
   13
   14
   15             READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE
   16         AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
   17
   18        This action has been assigned to the calendar of Judge Virginia A. Phillips.
   19
   20        The responsibility for the progress of litigation in the Federal Courts falls not
   21   only upon the attorneys in the action, but upon the Court as well. To secure the
   22   just, speedy, and inexpensive determination of every action, (Fed. R. Civ. P. 1),
   23   all counsel are hereby ordered to become familiar with the Federal Rules of Civil
   24   Procedure and the Local Rules of the Central District of California.
   25   //
   26   //




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   1          The Court further orders as follows:

   2
   3          1.       Service of the Complaint.       The Plaintiff shall serve the Complaint

   4     promptly in accordance with Fed. R. Civ. P. 4 and Local Rule 5-3 and file the

   5     proofs of service pursuant to Local Rule 5-4.

   6
   7          2.       Proposed Orders.     Each party filing or opposing a motion or

   8     seeking the determination of any matter shall serve and file a proposed order which

   9     sets forth the relief or action sought.

   10
   11         3.       Presence of Lead Counsel. All lead trial counsel must attend, in

   12    person, any scheduling and pretrial conferences set by the Court. Failure of

   13    lead trial counsel to appear for those proceedings is a basis for sanctions.

   14
   15         4.       Motions.   Motions shall be filed and set for hearing in accordance

   16    with Local Rule 6-1. Motions will be heard on Mondays commencing at 2:00 p.m.

   17    If Monday is a national holiday, this Court does not hear motions on the succeeding

   18    Tuesday. Any motion noticed for a holiday shall automatically be set to the next

   19    Monday without further notice to the parties. Memoranda of Points and Authorities

   20    in support of or in opposition to motions shall not exceed 25 pages. Replies shall

   21    not exceed 12 pages. Only in rare instances, and for good cause shown, will the

   22    Court agree to extend these page limitations. When citing to legal databases, coun-

   23    sel should cite to Westlaw rather than Lexis. If Lexis, or some other legal database,

   24    is the only database that contains a cited opinion, counsel citing to that opinion must

   25    submit a copy of it (or the relevant portions if lengthy) along with the motion or

   26    opposition.




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   1         If documentary evidence in support of or in opposition to a motion exceeds

   2    50 pages, the evidence shall be separately bound, tabbed, and include an index. If

   3    such evidence exceeds 200 pages, the evidence shall be placed in a Slant D-Ring

   4    binder, include an index, and each item of evidence shall be separated by a tab

   5    divider on the right side.

   6
   7         Unless clearly justified under the circumstances of the case, "motions to

   8    dismiss or in the alternative for summary adjudication" are discouraged. These

   9    composite motions tend to blur the legitimate distinction[s] between the two

   10   motions, which have different purposes. Frequently, the composite motions

   11   introduce evidence that is extrinsic to the pleadings. On the one hand, such

   12   evidence is improper for consideration in a Fed. R. Civ. P. 12(b)(6) motion,

   13   while on the other hand, treatment of the motion as a Rule 56 motion frequently

   14   results in reasonable invocation of Rule 56(f) by the non-moving party.

   15
   16        Moreover, Rule 12(b)(6) motions are discouraged unless counsel has a good

   17   faith belief that such motion will likely result in dismissal, without leave to amend,

   18   of all or at least some of the claims under applicable law.

   19
   20        Motions for Summary Judgment or Partial Summary Judgment: No party

   21   may file more than one motion pursuant to Fed. R. Civ. P. 56 regardless of whether

   22   such motion is denominated as a motion for summary judgment or summary

   23   adjudication. Parties offering evidence in support of, or in opposition to, a Rule 56

   24   motion must cite to specific page and line numbers in depositions and paragraph

   25   //

   26   //




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   1    numbers in affidavits. Furthermore, such evidence must be authenticated properly.

   2    The Court directs the parties to become familiar with Orr v. Bank of America,

   3    NT & SA, 285 F.3d 764 (9th Cir. 2002). The moving party's brief shall also be

   4    accompanied by a statement of undisputed facts ("SUF").

   5
   6         The SUF shall be presented in a table format and include the following

   7    columns:

   8                a.      The first column shall contain the number of the fact alleged

   9                        to be undisputed. Only facts should be listed, not legal

   10                       arguments.

   11               b.      The second column shall contain a plain statement of the fact.

   12                       Facts shall not be compound. If, for instance, the required

   13                       response is that the fact is disputed in part, the fact is compound.

   14                       Further, neither legal arguments nor conclusions constitute facts.

   15               c.      The third column shall contain a citation to admissible evidence

   16                       the party believes supports the proffered fact.

   17   For example:

   18
   19     Pl.'s   Fact                                           Supporting Evidence
          SUF No.
   20     1.      Plaintiff was driving her car when she         Decl. of Plaintiff ¶ 2.
                  went through the intersection.
   21
          2.      The light was green when Plaintiff             Decl. of Plaintiff ¶ 4.
   22             went through the intersection.
          3.      Plaintiff was driving at 35 miles per          Decl. of Plaintiff ¶ 7; Decl.
   23             hour when she traveled through the             of Plaintiff's Expert ¶ 14.
                  intersection.
   24
          . . .     . . .                                        . . .
   25
   26




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   1           The party opposing the summary judgment motion shall include with its

   2    opposition a statement of genuine issues that includes the moving party's table; but

   3    the opposing party shall add a fourth column to the moving table identifying those

   4    facts that are in dispute, briefly explaining the dispute, and citing the evidence

   5    supporting the dispute. The opposing party shall not set forth legal objections in

   6    the statement of genuine issues.

   7
   8    For example:

   9
   10     Pl.'s   Fact                      Supporting Evidence Def.'s Response
          SUF No.
   11
          1.          Plaintiff was         Decl. of Plaintiff ¶ 2.   Undisputed
   12                 driving her car
                      when she went
   13                 through the
                      intersection.
   14
   15     2.          The light was         Decl. of Plaintiff ¶ 4.   Disputed. The light was
                      green when                                      red when Plaintiff
   16                 Plaintiff went                                  traveled through the
                      through the                                     intersection. (Decl. of
   17                 intersection.                                   Defendant ¶ 6.)

   18                 Plaintiff was     Decl. of Plaintiff ¶ 7;       Disputed. Plaintiff was
          3.          driving at 35     Decl. of Plaintiff's          driving 52 miles per
   19                 miles per hour    Expert ¶ 14.                  hour when she went
                      when she traveled                               through the intersection.
   20                 through the                                     (Decl. of Defendant's
                      intersection.                                   Expert ¶ 9.)
   21
   22     . . .       . . .                 . . .                     . . .

   23
   24          If a party fails to dispute a fact properly by offering evidence that does not

   25   contradict the proffered fact, the Court will deem the fact undisputed for purposes

   26   of the motion. See Fed. R. Civ. P. 56(e)(2), L.R. 56-3.




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   1              If the party opposing the summary judgment motion wishes to include its own

   2    set of undisputed facts, it may include them in a second table at the end of its

   3    statement of genuine issues. The opposing party's undisputed facts shall be set forth

   4    in the same manner as the moving party's SUF.

   5
   6    For example:

   7
   8         Def.'s        Fact                                Supporting Evidence
             SUF No.
   9
             1.            The tires on Plaintiff's car had    Decl. of Mechanic ¶ 5.
   10                      only 1 millimeter of tread
                           remaining at the time of the
   11                      accident.
   12
             . . .         . . .                               . . .
   13
   14
   15             If either party fails to provide a pincite to the supporting evidence, the Court

   16   will deem the proffered fact (or dispute) unsupported. See generally Christian

   17   Legal Soc. v. Wu, 626 F.3d 483, 488 (9th Cir. 2010) ("Judges are not like pigs,

   18   hunting for truffles buried in briefs." (quoting Greenwood v. FAA, 28 F.3d

   19   971, 977 (9th Cir. 1994) (quoting United States v. Dunkel, 927 F.2d 955, 956

   20   (7th Cir. 1991) (per curiam)) (alteration omitted)))).

   21
   22             Additionally, parties shall file any legal objections to the other party's

   23   proffered evidence under separate cover.
   24   //
   25   //

   26   //




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   1         5.     Withdrawal or Non-Opposition of Motions:          In the event that

   2    the parties are able to resolve a pending motion, they must notify the Court

   3    approximately one week before the hearing date. Sanctions may issue for

   4    failure to comply with this requirement, or the broader requirement in Local

   5    Rule 7-16 that any party who intends either to withdraw a motion, to not oppose

   6    a motion, or to seek a continuance of the hearing date for a motion, must notify

   7    the court by noon on the Tuesday preceding the hearing date.

   8
   9         6.     Electronic filing.   As of January 1, 2008, the United States District

   10   Court for the Central District of California implemented mandatory electronic filing

   11   ("e-filing") of documents in all new and pending civil cases. Information about the

   12   Court's Electronic Case Filing system, is available on the Court's website at

   13   www.cacd.uscourts.gov/cmecf.

   14
   15        The "e-filing" of all documents required to be "e-filed" in this matter pursuant

   16   to General Order No. 10-07 and Local Rule 5-4 shall be completed by 4:00 p.m.

   17   on the date due. Any documents "e-filed" after 4:00 p.m. on the date due will be

   18   considered untimely. Any documents that fail to comply with Local Rule 5-4, and

   19   particularly Local Rule 5-4.3.1 may be rejected.

   20
   21        7.     Mandatory chambers copies.        The Court requires ONE mandatory

   22   chambers copy of ONLY the following filed documents:

   23               a.     Motions and related documents;

   24               b.     Ex parte applications and related documents;

   25        Such chambers copies shall be delivered to the "Courtesy Box," located outside

   26   of Clerk's Office at the First Street Court House, 350 West 1st Street, 4th Floor,




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   1     Los Angeles, California 90012, no later than 5:00 p.m. on the day following

   2     "e-filing."All chambers copies shall comply fully with the document formatting

   3     requirements of Local Rules 5-4, 11-3, and 11-4 including the "pre-punching,"

   4     "backing," and "tabbing" requirements of Local Rules 11-3.5, 11-4.1, and 11-5.3,

   5     respectively. If the filing party and their counsel fail to deliver a mandatory

   6     chambers copy in full compliance with this Order and Local Rule 11-3, the

   7     Court may, on its own motion, reschedule any related hearing, as well as

   8     imposing sanctions.

   9
   10         8.     Discovery.    All discovery matters have been referred to a United

   11    States Magistrate Judge (see initial designation following the case number) to hear

   12    all discovery disputes. The words "DISCOVERY MATTER" shall appear in the

   13    caption of all documents relating to discovery to insure proper routing. Counsel are

   14    directed to contact the Magistrate Judge Courtroom Deputy Clerk for the assigned

   15    Magistrate Judge to schedule matters for hearing.

   16
   17         The decision of the Magistrate Judge shall be final, subject to modification by

   18    the District Court only where it has been shown that the Magistrate Judge's order is

   19    clearly erroneous or contrary to law.

   20
   21         Any party may file and serve a motion for review and reconsideration before

   22    this court. The party seeking review must do so within ten (10) days of service upon

   23    the party of a written ruling or within ten (10) days of an oral ruling that the

   24    Magistrate Judge states will not be followed by a written ruling. The motion must

   25    specify which portions of the text are clearly erroneous or contrary to law and the

   26    claim must be supported by points and authorities. A copy of the moving papers




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   1     and responses shall be delivered to the Magistrate Judge's clerk for review upon

   2     the filing of the required documents.

   3
   4          9.     Ex Parte Applications.      Ex parte applications are considered on the

   5     papers and are not usually set for hearing. Counsel are advised that this Court

   6     allows ex parte applications solely for extraordinary relief -- sanctions may be

   7     imposed for misuse of ex parte applications. See In re Intermagnetics Am., Inc.,

   8     101 B.R. 191 (Bankr. C.D. Cal. 1989). Counsel also should become familiar with

   9     Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488

   10    (C.D. Cal. 1995), regarding ex parte applications.

   11
   12         Counsel's attention is directed to Local Rule 7-19. The moving party shall

   13    serve the opposing party by electronic mail or hand delivery and shall notify the

   14    opposing party that opposing papers must be filed not later than twenty-four hours

   15    following such electronic mail or hand service. The moving party's declaration in

   16    support of an ex parte application shall show compliance with Local Rule 7-19

   17    and this Order, failing to follow the Local Rules and this Order will result in the

   18    application being DENIED. If counsel does not intend to oppose an ex parte

   19    application, they must so inform the Courtroom Deputy Clerk, (213) 894-3480.

   20    As with all motion papers, counsel must deliver a conformed courtesy copy of

   21    the papers to the "Courtesy Box," located outside the First Street Court House

   22    Clerk's Office at 350 W. 1st Street, 4th Floor, Los Angeles, California 90012.

   23    Counsel will be notified by the Courtroom Deputy Clerk of the Court's ruling or

   24    of a hearing time and date should the Court determine that a hearing is necessary.

   25
   26         10.     Class Actions.    Notwithstanding Local Rule 23-3, the deadline for




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    1    the filing of a motion for class certification will be set during the Scheduling

    2    Conference and/or in a Scheduling Order. NO REQUEST FOR RELIEF FROM

    3    LOCAL RULE 23-3 IS NECESSARY.

    4
    5         11.     Stipulations.    Stipulations extending scheduling dates set by this

    6    Court are not effective unless approved by the Court. Counsel requesting a

    7    continuance must submit a stipulation, with a detailed declaration of the basis for

    8    the requested continuance or extension of time, and a proposed order. Continuances

    9    will be granted only upon a showing of good cause, focusing on the diligence of the

    10   party seeking the continuance and any prejudice that may result if the continuance

    11   is denied. Any continuances that are requested without an accompanying

    12   declaration will be rejected without notice to the parties. The Court sets firm trial

    13   dates and will not change them without a showing of good cause.

    14
    15        12.     Applications to File Under Seal.       Parties are reminded that court

    16   proceedings are presumptively public, and no document shall be filed under seal

    17   without request for a court order that is narrowly tailored to cover only the

    18   document, the particular portion of the document, or category of documents for

    19   which good cause exists for filing under seal. To that end, all documents to be filed

    20   under seal and all Applications for Leave to File Under Seal must be filed filed

    21   electronically using the Court's CM/ECF System, unless otherwise indicated by

    22   L.R. 79-5 or exempted from electronic filing pursuant to L.R. 5-4.2.

    23
    24        If the sole ground for the sealing order is that the opposing party (or non-party)

    25   has designated the document as confidential, the opposing party (or non-party) shall

    26   file a declaration establishing good cause for the sealing along with a proposed




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    1    order, or shall withdraw the designation. The declaration shall be filed within five

    2    days of service on the opposing party (or non-party) of the request for a sealing

    3    order. If the declaration is not filed as required, the Court may order that the

    4    document be filed in the public record.

    5
    6         Use of Sealed Documents in Motion Papers: The Court cautions parties

    7    that documents designated as confidential that are attached as exhibits to case-

    8    dispositive motions, or redacted portions of case-dispositive briefs that contain

    9    confidential information, must meet the high "compelling reasons" threshold. See

    10   Kamakana v. City of Honolulu, 447 F.3d 1172 (9th Cir. 2006). A good cause

    11   showing, without more, will not satisfy a compelling reasons test, but will only

    12   suffice to maintain the confidentiality of documents attached to non-dispositive

    13   motions. Documents designated as confidential in conjunction with case-

    14   dispositive motions or briefs that do not satisfy the compelling reasons test may

    15   accordingly be re-designated as public information upon proper request. See

    16   Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122 (9th Cir. 2003).

    17
    18        Use of Sealed or Confidential Documents at Trial: Notwithstanding any

    19   provision of a protective order to the contrary, any document, whether previously

    20   designated confidential or previously sealed, will be unsealed and will lose its

    21   confidential status if offered as an exhibit at trial, absent a showing of the "most

    22   compelling" reasons. See Manual for Complex Litigation § 21.432; Foltz, 331

    23   F.3d at 1135-36. Any party believing that a document, portions thereof, or

    24   witness testimony should remain confidential or sealed during trial must request

    25   in advance of trial that the court take extraordinary measures, such as closing

    26   the courtroom to the public or sealing the trial transcript, to protect the




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    1    confidentiality of that information. The request must be made in writing and

    2    filed no later than the date on which pretrial papers are due.

    3
    4         If previously sealed documents are ordered unsealed for use at trial, counsel

    5    for the party offering the document as evidence shall, within two business days of

    6    the conclusion of the trial, identify which entries on the docket represent the

    7    exhibits actually received. Counsel are required to cooperate with the deputy clerk

    8    in order to complete the unsealing process in cases involving voluminous sealed

    9    documents.

    10
    11        13.     Removed Actions.        Any answers filed in state court must be

    12   re-filed in this Court (separately) as a supplement to the petition. Any pending

    13   motions must be re-noticed in accordance with Local Rule 6-1.

    14
    15        14.     Communications with Chambers.            Counsel shall not attempt

    16   to contact the Court or its Chambers staff by telephone or by any other ex parte

    17   means. Counsel must list their facsimile transmission numbers along with their

    18   telephone numbers on their papers.

    19
    20        15.     Notice of this Order.     Counsel for plaintiff, or plaintiff, if

    21   appearing on his or her own behalf, shall immediately serve this Order on all

    22   parties, including any new parties to the action. If this case came to the Court

    23   by noticed removal, the removing defendant shall serve this Order on all other

    24   parties.

    25   //

    26   //




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    1          16.     Internet Site.    Counsel are directed to review the Central

    2     District's website for additional information. The address is

    3     "http://www.cacd.uscourts.gov".

    4
    5
           IT IS SO ORDERED.
    6
    7    DATED: December 5, 2019
    8                                        Virginia A. Phillips
                                             Chief United States District Judge
    9
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